                                                                1345 Ave. of the Americas, 11th Floor
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                                                                jhorgan@egsllp.com




                                                                                  December 12, 2022

BY ECF
The Honorable Lewis Liman
United States District Court
Southern District of New York
500 Pearl Street, Room 160
New York, NY 10007

                    Re: Hexin Global Limited and Viner Total Investments Fund v. Singularity Future
                    Technology, Ltd., et al., 1:22-cv-08160-LJL – Letter Motion Concerning Motion to
                    Dismiss

Dear Judge Liman:

       We represent Defendants Singularity Future Technology, Ltd and Jing “Angela” Shan
(“Defendants”) in the above-referenced matter. Pursuant to the Court’s Notice of Initial Pretrial
Conference Order, dated December 5, 2022 (ECF Docket No. 8), Defendants hereby inform the
Court that they intend to file a motion to dismiss.
                                                 Sincerely,

                                                 ___[s] John B. Horgan____
                                                        John B. Horgan




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